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    IT IS ORDERED as set forth below:



     Date: September 16, 2019
                                                                       _____________________________________
                                                                                  Wendy L. Hagenau
                                                                             U.S. Bankruptcy Court Judge

_______________________________________________________________




                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

 In re:                                                     )              Chapter 11
                                                            )
 EAT HERE BRANDS, LLC, et al.1,                             )              Lead Case No. 19-61688-WLH
                                                            )
                     Debtors.                               )              Jointly Administered
                                                            )

          ORDER *5$17,1*'(%7256¶027,21)25(175<2)$1
         ORDER (I) ESTABLISHING A PROCEDURE FOR DETERMINING
          CLAIMS ARISING UNDER THE PERISHABLE AGRICULTURE
    COMMODITIES ACT, (II) AUTHORIZING THE DEBTORS TO PAY CERTAIN
   PRE-PETITION CLAIMS ARISING UNDER THE PERISHABLE AGRICULTURAL
         COMMODITIES ACT; AND (III) GRANTING RELATED RELIEF

          This matter is before the Court upon the motion [Docket No. 58] WKH³Motion´ 2 of the

 above-FDSWLRQHGGHEWRUVDQGGHEWRUVLQ SRVVHVVLRQ FROOHFWLYHO\ WKH³Debtors´ IRUHQWU\RIDQ



 1
           7KH 'HEWRUV LQ WKHVH FKDSWHU  FDVHV DORQJ ZLWK WKH ODVW IRXU GLJLWV RI HDFK 'HEWRU¶V IHGHUDO WD[
 identification number, are as follows: Eat Here Brands, LLC (9694); Babalu Atlanta #1 LLC (4025); Babalu Atlanta
 #2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu Memphis #1 LLC (9320); Babalu Memphis #2 LLC
 (4558); Babalu, LLC (7673); and Babalu Birmingham #1 LLC (1892)  7KH 'HEWRUV¶ PDLOLQJ DGGUHVV LV 9755
 Dogwood Road, Suite 200, Roswell, Georgia 30075.




 4811-7580-8678v.2
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 order (this ³Order´  (i) establishing a procedure for determining claims arising under the

 Perishable Agricultural Commodities Act (³PACA´) and (ii) authorizing, but not directing, the

 Debtors to pay the PACA Claims as set forth more fully in the Motion.

           The Court has considered the Motion, the Declaration of Ned Lidvall, Chief Executive

 Officer of the Debtors, in Support of Chapter 11 Petitions and First-Day Orders [Docket No. 5],

 the Limited Objection to the Motion [Docket No. 108] and the matters reflected in the record of

 the hearing held on the Motion on September 12, 2019 at 1:30 p.m. It appears that the Court has

 jurisdiction over this proceeding; that this is a core proceeding; that notice of the Motion has

 been given to the parties identified in the Master Service List DVDSSURYHGE\WKH&RXUW¶V2UGHU

 Establishing Notice and Administrative Procedures [Docket No. 33] and the PACA Vendors;

 that no further notice is necessary; that the relief sought in the Motion and granted in this Order

 is in the best interests of the Debtors, their bankruptcy estates, and their creditors; and that good

 and sufficient cause exists for such relief.

           Accordingly, it is hereby ORDERED as follows:

           1.      The Motion is GRANTED to the extent set forth herein and any objections to the

 Motion are OVERRRULED except as reflected herein.

           2.      Any PACA Vendor who asserts a PACA Claim against any of the Debtors must

 file with the Court a PACA Claim and serve such PACA Claim on the 'HEWRUV¶FRXQVHO$UQDOO

 Golden Gregory, LLC, Attn: Darryl Scott Laddin, 171 17th Street, NW, Suite 2100, Atlanta,

 Georgia 30363, including a copy of any invoices associated with such claim, and a list of the


 2
           Capitalized terms used but not otherwise defined in this Order shall have the meanings set forth in the
 Motion.



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 items covered by PACA that are included within such PACA Claim, no later than 4:00 p.m.

 (DVWHUQ RQ2FWREHU WKH³PACA Bar Date´ 

        3.      If any PACA Vendor fails to file and serve its PACA Claim by the PACA Bar

 Date, such PACA Vendor shall be deemed to have waived any and all PACA Claims against the

 Debtors, their property, their bankruptcy estates, and any PACA Trust Assets represented by

 such PACA Claims, but shall have the right to file a proof of claim for any non-PACA Claims

 or take other steps to assert non-PACA Claims.

        4.     For the avoidance of doubt, the Debtors having conferred and reached a

 FRPSURPLVHZLWK6XQULVH)UHVK3URGXFH//&WD6XQULVH3URGXFH-DFNVRQ ³Sunrise´ UHJDUGLQJ

 its PACA Claim, Sunrise is hereby deemed to have satisfied paragraph 2 hereof and to have an

 undisputed and agreed PACA Claim in the total amount of $14,228.56, which the Debtors shall

 pay in accordance with paragraph 6 hereof.

        5.     By October 14, 2019, the Debtors shall file with this Court a list of all PACA

 Vendors who have asserted a PACA Claim in accordance with paragraph 2 hereof, including the

 amount of each such asserted PACA Claim WKH³PACA List´ .

        6.     After the PACA Bar Date, and provided the Debtors remain authorized to use

 cash collateral of Origin Bank, the Debtors are authorized DQG GLUHFWHG to pay a PACA

 Claim to a PACA Vendor identified on the PACA List to the extent they do not dispute its

 PACA Claim or reach a resolution with such PACA Vendor, upon at least three GD\V¶QRWLFHWR

 WKH 2IILFLDO &RPPLWWHH RI Unsecured Creditors   WKH ³Committee´  and to Origin Bank;

 provided, however, (i) any such payment may only represent a pro rata payment based

 upon the amount of PACA Claims identified in the PACA List and the amounts set forth for

 PACA Claims in the Budget (without
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 prejudice to a PACA Vendor seeking to recover the full amount of its PACA Claim), (ii) nothing

 herein prohibits the Debtors and their DIP lender Origin Bank from agreeing to amend

 the Budget to increase the amount set forth therein for PACA Claims; and (iii) the Debtors shall

 not make such payment if Origin Bank or the Committee file an objection to such claim prior to

 the payment (and the Court shall hear and determine such dispute in accordance with applicable

 law and procedure).  ,Q QR HYHQW VKDOO IXQGV HDUPDUNHG LQ WKH %XGJHW IRU SD\PHQW RI DVVHUWHG

 3$&$&ODLPVEHXVHGIRUDQ\RWKHUSXUSRVHZKLOHDVVHUWHG3$&$&ODLPVUHPDLQXQSDLGXQOHVV

 RWKHUZLVHRUGHUHGE\WKH&RXUW

        7.    In the event that the Debtors, the Committee or Origin Bank dispute all or any

 portion of a PACA Claim of a PACA Vendor identified on the PACA List, they shall file an

 objection to such claim setting forth the factual and legal basis for the objection by November

 27, 2019. The Court shall hear and determine such dispute in accordance with applicable law

 and procedure.  To the extent not previously paid, the Debtors shall pay promptly after

 November 27, 2019, in accordance with paragraph 6 hereof, all or any portion of a PACA Claim

 of a PACA Vendor that is not disputed by the Debtors, the Committee or Origin Bank.
        8.      Other than with respect to Sunrise¶V 3$&$ Claim as set forth in paragraph 4

 hereof, nothing in this Order (i) is intended as a determination that any of the PACA Vendors is

 or is not entitled to a PACA Claim; (ii) is intended as a determination as to the validity of any

 claim against the Debtors or their bankruptcy estates or an entitlement or lack of entitlement to

 any PACA Trust Assets; (iii) shall impair, prejudice, waive, or otherwise affect the rights of the

 Debtors or their bankruptcy estates to contest the validity, priority, character, or amount of any

 claim against the Debtors or their bankruptcy estates; (iv) shall²except as provided in this

 Order²impair, prejudice, waive, or otherwise affect the rights, if any, of the PACA Vendors


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 including, but not limited to, the right to object to any motion to sell the assets of the Debtors; or

 (v) shall be construed as a determination that the amount set forth in the Budget for PACA

 Claims is a cap on the amount of money that can or must be paid to PACA Vendors.

        9.      The Debtors are authorized to take any and all actions necessary to effectuate the

 relief granted in this Order.

        10.     This Court retains jurisdiction with respect to all matters arising from or related to

 the implementation of this Order.

        11.     Counsel to the Debtors is directed to serve a copy of this Order on the parties

 identified in Master Service List as approved E\ WKH &RXUW¶V 2UGHU (VWDEOLVKLQJ 1RWLFH DQG

 Administrative Procedures [Docket No. 33] and the PACA Vendors within three (3) days of the

 entry of this Order and to file a certificate of service with the Clerk of the Court.

                                       *** END OF ORDER ***




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 Prepared and presented by:


 ARNALL GOLDEN GREGORY LLP

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 Sean C. Kulka
 Georgia Bar No. 648919
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 Attorneys for Debtors and Debtors in Possession


 SCHULTEN WARD TURNER & WEISS LLP

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 Attorneys for Debtors and Debtors in Possession




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                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 19-61688-wlh
Eat Here Brands LLC                                                                                        Chapter 11
Babalu Atlanta #1 LLC
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 113E-9                  User: jlc                          Page 1 of 2                          Date Rcvd: Sep 16, 2019
                                      Form ID: pdf415                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 18, 2019.
db             +Eat Here Brands LLC,   9755 Dogwood Road,   Suite 200,   Roswell, GA 30075,
                 UNITED STATES 30075-4663

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 18, 2019                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 16, 2019 at the address(es) listed below:
              Constance L. Young    on behalf of Creditor   HGKL Investments Series, LLC - Series I
               constance.young@wbd-us.com, Stephanie.hanley@wbd-us.com;Janice.phillips@wbd-us.com
              Darryl S. Laddin    on behalf of Debtor   Babalu, LLC bkrfilings@agg.com, darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu Memphis #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu Atlanta #1 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Babalu Atlanta #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Eat Here Brands LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Babalu Birmingham #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu Birmingham #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Babalu Knoxville #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Babalu Memphis #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu Memphis #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Babalu Memphis #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu Knoxville #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu Atlanta #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Babalu Atlanta #1 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Ewing, Scott - Omni Management Group    on behalf of Claims Agent   Omni Management Group, Inc.
               sewing@omnimgt.com, ecf@omnimgt.com
              Ewing, Scott - Omni Management Group    on behalf of Interested Party   Omni Management Group
               sewing@omnimgt.com, ecf@omnimgt.com
              Gwendolyn J Godfrey    on behalf of Creditor   Origin Bank ggodfrey@mmmlaw.com,
               dcassidy@mmmlaw.com
              Hal Jordan Leitman    on behalf of Creditor   Federal Realty Investment Trust
               hleitman@rlklawfirm.com,
               swenger@rlklawfirm.com;yalamin@rlklawfirm.com;lawclerk@rlklawfirm.com;R71213@notify.bestcase.com
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District/off: 113E-9          User: jlc                    Page 2 of 2                  Date Rcvd: Sep 16, 2019
                              Form ID: pdf415              Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              J. Hayden Kepner, Jr.    on behalf of Creditor Committee    Official Committee of Unsecured
               Creditors hkepner@swlawfirm.com,
               rwilliamson@swlawfirm.com;centralstation@swlawfirm.com;fharris@swlawfirm.com
              Jeffrey R. Barber    on behalf of Creditor    Fondren Place Development Company, LLC
               jbarber@joneswalker.com, kbrabston@joneswalker.com
              Kelly E. Waits    on behalf of Creditor    Fritz Farm Retail Co., LLC, as assignee of Lexington
               Retail Company, L.L.C. kwaits@burr.com
              Kevin A. Maxim    on behalf of Creditor    Sunrise Fresh Produce, LLC (t/a Sunrise Jackson)
               kmaxim@maximlawfirm.com, kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Memphis, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Central Alabama, Inc. kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Creation Gardens, Inc. kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Knoxville, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    FreshPoint North Carolina, Inc. (t/a FreshPoint Raleigh
               and t/a FreshPoint Nashville, Inc.) kmaxim@maximlawfirm.com, kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Jackson, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    FreshPoint Atlanta, Inc. kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Charlotte, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Lindsay P. S. Kolba    on behalf of U.S. Trustee    United States Trustee lindsay.p.kolba@usdoj.gov,
               lisa.maness@usdoj.gov
              Michael F. Holbein    on behalf of Debtor    Eat Here Brands LLC michael.holbein@agg.com,
               angela.ford@agg.com;carol.stewart@agg.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu Atlanta #2 LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu, LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of Debtor    Eat Here Brands LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu Atlanta #1 LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu Memphis #1, LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu Memphis #2 LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu Birmingham #1, LLC
               r.mercer@swtwlaw.com, d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu Knoxville #1, LLC
               r.mercer@swtwlaw.com, d.hopkins@swtwlaw.com
              Sean C. Kulka   on behalf of Debtor     Eat Here Brands LLC sean.kulka@agg.com
              Stuart Freeman Wilson-Patton    on behalf of Creditor    TN Dept of Revenue agbankgeorgia@ag.tn.gov,
               Stuart.Wilson-Patton@ag.tn.gov
              Theodore N. Stapleton    on behalf of Creditor    S.A.R. & Associates, Inc. tstaple@tstaple.com
                                                                                               TOTAL: 45
